                  UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE




UNITED STATES OF AMERICA                     )
                                             )
v.                                           )              NO. 2:00-CR-71
                                             )
JEREMY DEAN MARSH                            )



                                      ORDER


             This supervised release revocation matter came before the Court on

August 1, 2005, for the hearing in regard to whether or not the defendant has violated

the terms of his supervised release. The defendant stipulated that he has violated the

terms of his supervised release by the following:

             1. On October 4, 2004, he was cited for exhibiting blue lights, violation of

registration, and no insurance. These charges were dismissed after he complied with

state law. He did not report this citation to probation within ten (10) days.

             2. In October of 2004, he changed employment and did not notify

probation.

             3. On December 9, 2004, he was questioned by police when his wrecked

abandoned vehicle was found. He did not report this to probation within 10 days.



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             4. On April 26, 2005, he tested positive for marijuana. Although he denied

using marijuana, the lab confirmed that the test was positive for marijuana. He later

stated that while he was out with friends he had been so intoxicated that he did not

remember smoking the marijuana.

             It was undisputed that the defendant's violation guideline sentence is up to

twenty-four (24) months. Considering the factors set out in 18 U.S.C. § 3553(a), the

Court finds that these factors suggest that a reasonable sentence in this case is thirty (30)

days. The defendant’s conduct in violation of his supervised release was serious.

Although, his personal characteristics involve abuse of drugs and alcohol, the defendant

has been steadily employed and is paying $70.00 a week in child support for each of his

two children.

             Accordingly, it is hereby ORDERED that the defendant’s term of

supervised release is revoked and he is sentenced to serve a term of one weekend in the

Greene County Detention Center to be followed by a term of two (2) years of

supervised release.

             While on supervised release, the defendant shall not commit another

Federal, state, or local crime, shall comply with the standard conditions that have been

adopted by this Court in Local Rule 83.10, and shall not illegally possess a controlled

substance. In addition, it is also hereby ORDERED that the defendant shall comply

with the following special conditions:

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            1. The defendant shall participate in a program of testing and treatment for

drug and/or alcohol abuse as directed by the probation officer until such time as the

defendant is released from the program by the probation officer.

            2. The defendant shall spend nine (9) weekends in jail.



            ENTER:

                                                  s/J. RONNIE GREER
                                              UNITED STATES DISTRICT JUDGE




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